Case 4:24-cv-00414-O        Document 29        Filed 02/07/25      Page 1 of 1     PageID 1143



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SHARON COUCH and DICKEY                         §
 COUCH,                                          §
                                                 §
        Plaintiffs,                              §
                                                 § Civil Action No. 4:24-cv-00414-O
 v.                                              §
                                                 §
 ALTISOURCE ONLINE AUCTION,                      §
 INC. and JOHN DOE,                              §
                                                 §
        Defendants.                              §


                                            ORDER

       On January 15, 2025, the Court sanctioned Plaintiffs and their counsel, including by

awarding Defendant permissible attorneys’ fees. ECF No. 28. Defendant was ordered to submit

the proper documentation by January 31, 2025. Because Defendant failed to do so, the Court

withdraws that penalty. All other penalties imposed in the Court’s sanctions Order shall remain.

       SO ORDERED on this 7th day of February, 2025.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE
